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           IN THE UNITED STATES DISTRICT COURT FOR MARYLAND

                            GREENBELT DIVISION


                                   )
MS. PATRICIA FLETCHER              )
1531 Belle Haven Drive             )
Landover, MD 20785                 )
Prince George’s County,            )
                                   )
                                   )
MR. TREVELYN OTTS                  )
157 Fleet Street                   )
Oxon Hill, MD 20745                )
Prince George’s County             )
                                   )           Civ. Action No.: _______________
                                   )
MR. DONALD M. GLOVER               )
1142 N. Carrollton Avenue          )
Baltimore, MD 21217                )
Baltimore City,                    )
                                   )
MS. JANIS HAGEY                    )
14005 Gullivers Trail              )
Bowie, MD 20720                    )
Prince George’s County,            )
                                   )
MS. WINNIE MAE CAMPBELL            )
3508 Ellen Road                    )
Baltimore, MD 21244                )
Baltimore County,                  )
                                   )
MR. MICHAEL HARRIS                 )
3709 Southgate Court               )
Temple Hills, MD 20748             )
Prince George’s County,            )
                                   )
MR. MICHAEL THOMPSON               )
2715 University Boulevard          )
Wheaton, MD 20902                  )
Montgomery County,                 )
                                   )
MS. JULIA L. WILLIAMS              )
13910 Amberfield Terrace           )
Upper Marlboro, MD 20772           )
Prince George's County,            )

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MS. ROBINA SPRUILL                  )
11502 Hornbeam Court                )
Waldorf, MD 20601                   )
Charles County,                     )
                                    )
                Plaintiffs,         )
                                    )
v.                                  )
                                    )
LINDA H. LAMONE in her official     )
capacity as State Administrator of  )
Elections for the state of Maryland )
And Robert L. WALKER in his         )
official capacity as Chairman of    )
the State Board of Elections,       )
                                    )
                Defendants.         )
____________________________________)


                                        COMPLAINT

                                  I.      INTRODUCTION

   1. Plaintiffs are individual registered voters that seek declaratory and injunctive relief to

      enforce Article One Section Two of the United States Constitution, the Fourteenth and

      Fifteenth Amendments to the United States Constitution and the Voting Rights Act of

      1965, as amended.

   2. Plaintiffs seek a declaratory judgment that the newly enacted Maryland congressional

      redistricting plan (“Enacted Maryland Congressional Plan”) violates their civil rights

      because the plan intentionally discriminates against racial minorities in violation of the

      Fourteenth and Fifteenth Amendments; unlawfully dilutes the voting strength of African

      Americans in violation of the Voting Rights Act of 1965; malapportions districts by

      violating Article One Section Two of the U.S. Constitution and the Fourteenth

      Amendment; and by constituting a political gerrymander in violation of the Fourteenth

      Amendment.

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3. Plaintiffs seek a permanent injunction prohibiting the calling, holding, supervising or

   certifying of any future congressional elections under the challenged redistricting plans.

   Plaintiffs seek the creation of congressional redistricting plans that will not cancel out,

   minimize or dilute the voting strength of African American voters in Maryland.

4. Plaintiffs further seek costs and attorneys’ fees.

                                   II. JURISDICTION

5. Jurisdiction is based upon 28 U.S.C. §§ 1343a (3) & (4) and upon 28 U.S.C. § 1331 for

   causes of action arising from 42 U.S.C. §§ 1973 and 1973c. Additionally, a three-judge

   court has jurisdiction in accordance with 28 U.S.C. § 2284 because this claim relates to

   constitutional claims involving statewide redistricting. Jurisdiction for Plaintiffs' claim

   for declaratory relief is based upon 28 U.S.C. §§ 2201 and 2202. Jurisdiction for

   Plaintiffs' claims under Article One Section Two, the Fourteenth and Fifteenth

   Amendments to the U.S. Constitution is based upon 42 U.S.C. §§ 1983 and 28 U.S.C. §

   1331. Jurisdiction for Plaintiffs' claim for attorney’s fees is based on 42 U.S.C. §§

   1973L(e) and 1988. Venue is proper in this court under 28 U.S.C. § 1391(b).

                                    III. PLAINTIFFS

6. Plaintiff Ms. Patricia Fletcher is African American and a registered voter of Maryland.

   She resides in Landover, Maryland. In the Enacted Maryland Congressional Plan she

   resides in the Fourth Congressional District.

7. Plaintiff Mr. Trevelyn Otts is African American and a registered voter of Maryland. He

   resides in Oxon Hill, Maryland. In the Enacted Maryland Congressional Plan he resides

   in the Fourth Congressional District.




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8. Plaintiff Mr. Donald M. Glover is African American and a registered voter of Maryland.

   He resides in Baltimore, Maryland. In the Enacted Maryland Congressional Plan he

   resides in the Seventh Congressional District.

9. Plaintiff Ms. Janis Hagey is African American and a registered voter of Maryland. She

   resides in Bowie, Maryland. In the Enacted Maryland Congressional Plan, she resides in

   the Fifth Congressional District.

10. Plaintiff Ms. Winnie Mae Campbell is African American and a registered voter of

   Maryland. She resides in Baltimore County, Maryland. In the Enacted Maryland

   Congressional Plan she resides in the Second Congressional District.

11. Plaintiff Mr. Michael Harris is African American and a registered voter of Maryland. He

   resides in Temple Hills, Maryland. In the Enacted Maryland Congressional Plan, he

   resides in the Fourth Congressional District.

12. Plaintiff Mr. Michael Thompson is African American and a registered voter of Maryland.

   He resides in Wheaton, Maryland. In the Enacted Maryland Congressional Plan, he

   resides in the Eighth Congressional District.

13. Plaintiff Ms. Julia L. Williams is African American and a registered voter of Maryland.

   She resides in Upper Marlboro, Maryland. In the Enacted Maryland Congressional Plan,

   she resides in the Fourth Congressional District.

14. Plaintiff Ms. Robina Spruill is African American and a registered voter of Maryland. She

   resides in Waldorf, Maryland. In the Enacted Maryland Congressional Plan, she resides

   in the Fifth Congressional District.

15. All Plaintiffs are injured by the malapportionment of the Congressional Districts.




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16. All Plaintiffs are injured as a result of the intentional discrimination contained in the

   Enacted Maryland Congressional Plan.

17. All Plaintiffs are injured as a result of the violations of Article 1, Section 2 of the United

   States Constitution for apportionment of Congressional Districts.

18. All Plaintiffs are injured as a result of the political gerrymander inherent in the Enacted

   Maryland Congressional Plan.

                                    IV. DEFENDANTS

19. Defendant Linda Lamone is sued in her official capacity as Election Administrator for the

   State of Maryland. Defendant Lamone is the State’s elections officer and as such is

   responsible for overseeing the conduct of elections within the State.

20. Defendant Robert L. Walker is sued in his official capacity as Chairman of the Maryland

   State Board of Elections.

                                         V. FACTS

21. According to the 2010 Census, the population of Maryland is 5,773,552 with an African

   American population of 1,783,899 (30.9%). The African American voting age population

   of Maryland is 29.3% of the total voting age population.

22. According to the U.S. Census Bureau, African American population of Maryland grew

   17.0% between 2000 (1,525,036) and 2010 (1,783,899).

23. According to the U.S. Census Bureau, the non-Hispanic white population of Maryland

   declined 3.91% between 2000 (3,286,547) and 2010 (3,157,958).

24. The Enacted Maryland Congressional Plan was signed into law by Governor Martin

   O’Malley on October 20, 2011.




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25. The Maryland congressional redistricting process began when Governor O’Malley

   appointed a commission called the Governor’s Redistricting Advisory Committee

   (“GRAC”) to hold public hearings, review plans submitted by public officials and

   members of the public, and propose a recommended redistricting plan for the state’s eight

   congressional districts for the Governor’s review.

26. GRAC was comprised of five members appointed by Governor O’Malley. They are

   Maryland Secretary of Appointments Jeanne D. Hitchcock (Chair of GRAC), Maryland

   Senate President Thomas V. Mike Miller, Jr., Maryland Speaker of the House Michael E.

   Busch, Maryland Representative James King, and President and Chief Executive Officer

   of Montgomery Mechanical Services Incorporated Richard Stewart.

27. GRAC held twelve public hearings according to the following schedule:

          Hancock, MD            July 23, 2011

          Frederick, MD          July 23, 2011

          Largo, MD              July 25, 2011

          Rockville, MD          August 10, 2011

          Baltimore, MD          August 12, 2011

          La Plata, MD           August 24, 2011

          Annapolis, MD          August 30, 2011

          Columbia, MD           August 30, 2011

          Salisbury, MD          September 10, 2011

          Wye Mills, MD          September 10, 2011

          Bel Air, MD            September 12, 2011

          Randallstown, MD       September 12, 2011



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28. At hearings and in submitted materials GRAC heard the requirement under Thornburg v.

   Gingles, 478 U.S. 30 (1986) of the creation of three compact majority-minority African

   American congressional districts; the history of racial gerrymandering for both partisan

   political purposes and incumbency protection purposes in Maryland; and plans for

   creation of three compact majority minority African American congressional districts.

29. On July 22, 2011, GRAC was presented with a third party map that drew three compact

   majority minority African American congressional districts submitted by the Fannie Lou

   Hamer PAC. Further information in support of this map was submitted on July 27, 2011.

   This map and its accompanying demographic data are included as ATTACHMENT A.

30. On October 4, 2011, GRAC released its proposed congressional redistricting plan (the

   “GRAC Proposed Plan”) to Governor O’Malley. This map and its accompanying

   demographic data and measures of compactness are included as ATTACHMENT B.

31. On October 15, 2011, Governor O’Malley proposed a modified version of the GRAC

   plan. This map and its accompanying demographic data and measures of compactness

   are included as ATTACHMENT C.

32. On October 17, 2011, a special session of the state legislature convened to consider the

   Governor’s proposed congressional redistricting plan as Senate Bill 1.

33. On October 17, 2011, the legislature heard testimony from Congresswoman Donna

   Edwards, an African American member of Congress who voiced objections to Senate Bill

   1’s treatment of African American and minority communities.

34. On October 17, 2011, the state Senate defeated an amendment to Senate Bill 1 sponsored

   by state Senator Pipkin which would have created three compact majority-minority




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   African American congressional districts. The Senate defeated the amendment by a vote

   of 13-33.

35. On October 18, 2011, the very next day, the state House defeated the same amendment to

   Senate Bill 1 which was offered by Delegate Parrott. The House defeated this amendment

   by a vote of 40-97. Senator Pipkin’s plan and its accompanying demographic data and

   measures of compactness are included as ATTACHMENT D.

36. On October 18, 2011, the state House passed Senate Bill 1 with technical amendments

   with a vote of 91 in favor and 46 opposed.

37. On October 20, 2011, the state Senate passed Senate Bill 1 with technical amendments

   with a vote of 32 in favor and 13 opposed.

38. African American members of the legislature throughout the process requested

   information about the demographic numbers in the proposals. Information was denied.

39. On October 20, 2011, Governor O’Malley signed Senate Bill 1 into law as emergency

   legislation to take effect immediately.

40. The Enacted Maryland Congressional Plan and its accompanying demographic data and

   measures of compactness are identical to the Governor’s proposed map and are included

   as Attachment C.

41. Despite the dramatic growth in minority population since 2000, the Enacted Maryland

   Congressional Plan contains only two majority-minority districts, even though minorities

   constitute 41.6% of the state’s population, and African Americans constitute 30.8% of the

   state’s population.

42. Under this plan, African American and other minority communities are fractured among

   multiple districts for the benefit of white candidates.



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43. This plan dilutes African American voting strength statewide by drawing only two

   majority-minority African American voting districts rather than the three compact

   majority-minority African American voting districts presented to the legislature that

   afford African Americans the opportunity to elect their preferred candidate.

44. This plan intentionally discriminates against minority groups by drawing districts that

   fracture minority communities for the benefit of white incumbents.

45. This plan uses the state “adjusted” census numbers in accordance with the “No

   Representation without Population Act” enacted April 13, 2011.

46. The “No Representation without Population Act” requires the drawing of congressional

   districts by assigning persons in correctional facilities located in the state back to their

   last known address within the state of Maryland.

47. These adjusted numbers result in population deviations in the districts ranging from -

   .67% (-4832) to +.94% (+6754).

48. These “adjusted” census numbers eliminated persons residing in state prisons whose last

   known address is outside the state of Maryland.

49. A comparison of the state adjusted numbers to the U.S. Census numbers indicate that

   1321 people were eliminated in an attempt to comply with state law.

50. 939 known African American residents are eliminated from the adjusted state numbers.

51. 368 known white residents are eliminated from the state adjusted numbers.

52. The remaining 14 known people eliminated from the state adjusted numbers are of other

   races.

53. These statistics demonstrate that of the known but eliminated persons, 71.08% of them

   are African American.



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54. The difference in ideal population numbers appears to be a direct result of the state of

   Maryland simply eliminating persons residing in state prisons whose last known address

   was outside the state of Maryland.

55. Section 2 of the Voting Rights Act of 1965, 42 U.S.C. 1973, applies nationwide and

   prohibits voting practices and procedures that result in the denial or abridgement of the

   right of any citizen to vote on account of race, color or membership in a language

   minority group. Section 2 is a permanent provision of the federal Voting Rights Act.

56. The Enacted Maryland Congressional Plan interacts with social and historical conditions

   to cause an inequality in the opportunity of African American voters to elect

   representatives of their choices as compared to white voters.

57. The Enacted Maryland Congressional Plan operates to dilute the voting strength of

   African Americans in the state of Maryland.

58. At all times relevant herein, Defendants have acted under color of State law.

                                VI. CAUSES OF ACTION

                                         COUNT 1

           Intentional Discrimination in the Splitting of Minority Communities

59. Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

60. Including but not limited to the following examples, the Enacted Maryland Congressional

   Plan splits or “cracks” minority communities in the following places:

       a. In the City of Baltimore, the minority neighborhood near the intersection of Route

           1 and Culmore Street is split to connect two white neighborhoods (see Attachment

           E)




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       b. In Prince Georges County, a near perfect horizontal line is drawn through the

           count to split black communities between a majority African American district

           and a majority Caucasian district (See Attachment F).

61. The state of Maryland's Enacted Congressional Redistricting plan intentionally

   discriminates on the basis of race in violation of the 14th and 15th Amendments to the

   U.S. Constitution and the Supreme Court’s rule in Gomillion v. Lightfoot, 364 U.S. 339

   (1960) (finding that creation of a twenty eight sided municipality for the purpose of

   splitting a community on the basis of race); (See also Garza v. County of Los Angeles,

   918 F. 2d. 763 (9th Cir. 1990), cert. denied 498 U.S. 1028 (1991) (holding that

   intentional division of minority neighborhoods to preserve white incumbents constituted

   intentional discrimination) by splitting minority neighborhoods in Baltimore and its

   suburbs and in suburban areas of Maryland surrounding Washington, DC.

                                         COUNT 2

 Intentional Discrimination in the Creation of Districts with Bizarre Shapes and Racial

                             Percentages on the Basis of Race

62. Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

63. Including but not limited to the following examples, the Enacted Maryland Congressional

   Plan splits minority communities in bizarre shapes in the following places:

       c. In Baltimore, in the area of East Northern and Alemeda (See Attachment E);

       d. In Prince George’s County, a finger of a majority Caucasian district reaches north

           through Prince George’s County and forces a majority African American district

           to squeeze around it. (See Attachment G).




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   64. Including but not limited to the following examples, the Enacted Maryland Congressional

      Plan intentionally created “minority influence” districts where minority communities

      could have been kept more whole:

          e. Congressional District 2 in the Baltimore area – African American population of

              34.22%

          f. Congressional District 5 in the Prince George’s County area – African American

              population of 38.82%.

   65. The state of Maryland's Enacted Congressional Redistricting plan intentionally

      discriminates on the basis of race in violation of the 14th and 15th Amendments to the

      U.S. Constitution and Shaw v. Reno, 509 U.S. 630 (1993) (holding that bizarre shaped

      districts explainable by only race not permissible); See also Miller v. Johnson, 515 U.S.

      900 (1995) (Kennedy, J., concurring) (stating that districts with targeted racial

      percentages can constitute intentional discrimination); Georgia v. Ashcroft, 539 U.S. 461

      (2003) (Kennedy, J., concurring)(districts with targeted minority influence percentages

      can constitute intentional racial discrimination) by creating districts composed of

      minority neighborhoods in Baltimore and its suburbs and in suburban areas of Maryland

      surrounding Washington, DC that are bizarrely shaped and with targeted racial

      percentages.

                                            COUNT 3

Intentional Discrimination by Violating the Equal Protection Principal of One Person, One Vote

   66. Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

   67. Including but not limited to the following examples, the Enacted Maryland Congressional

      Plan intentionally creates districts that are in violation of the equal protection principles:



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       g. Congressional District 6 is overpopulated by 6,754 persons according to U.S.

           Census figures;

       h. Congressional District 7 is underpopulated by 4,832 persons according to U.S.

           Census figures.

68. The state of Maryland's Enacted Congressional Redistricting plan intentionally

   discriminates in violation of the 14th and 15th Amendments by violating the equal

   protection principles one person, one vote as determined in Baker v. Carr, 369 U.S. 186

   (1962) (holding that courts have jurisdiction to consider equal population arguments),

   Karcher v. Daggett, 462 U.S. 725 (1983) (holding that congressional districts must be

   held to the strictest standards for equal population) and Travis v. King, 552 F. Supp. 554

   (D. Haw. 1982) (holding that congressional district lines should be based on total

   population as determined by the U.S. Census Bureau).

                                           COUNT 4

      Intentional Discrimination by Adjusting Population Numbers to Omit Persons

                                Disproportionately by Race

69. Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

70. The state of Maryland's Enacted Congressional Redistricting plan intentionally

   discriminates in violation of the 14th and 15th Amendments by omitting certain persons

   residing in state prisons whose last known addresses are from outside the State of

   Maryland and who are disproportionately minority in violation of Arlington Heights v.

   Metropolitan Housing Corp., 429 U.S. 252 (1977) (applying a disparate impact test to

   analyze a facially race neutral law).

                                           COUNT 5



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                             Section 2 of the Voting Rights Act

71. Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

72. The State of Mayland’s Enacted Congressional redistricting plan results in a denial or

   abridgement of the right to vote of Plaintiffs on account of their race, color, or ethnicity,

   by having the effect of canceling out or minimizing their individual voting strength as

   minorities in Maryland.

73. The state of Maryland does not afford Plaintiffs an equal opportunity to participate in the

   political process and to elect representatives of their choice, and denies Plaintiffs the right

   to vote in elections without distinction of race, color or previous condition of servitude in

   violation of 42 U.S.C. Section 1973. See also Thornburg v. Gingles, 478 U.S. 30 (1986)

   (defining the three pre-conditions and including in-depth discussion of the totality of the

   circumstances test).

                                         COUNT 6

                     Article One Section Two of the U.S. Constitution

74. Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

75. The state of Maryland’s use adjusted U.S. Census figures for developing redistricting

   plans and violates Article One Section Two of the U.S. Constitution requiring use of an

   actual enumeration of the population of the state for determining congressional

   representation. See Travis v. King, 552 F. Supp. 554 (D. Haw. 1982) (holding that

   Article 1, Section 2 requires the use of U.S. Census numbers for Congressional

   redistricting absent a compelling justification); Karcher v. Daggett, 462 U.S. 725 (1983)

   (holding congressional districts to the strictest population equality standards).

                                           COUNT 7



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           Political Gerrymandering in Violation of the Fourteenth Amendment

76. Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

77. Including but not limited to the following examples, the Enacted Maryland Congressional

   Plan intentionally created districts that are politically gerrymandered in violation of the

   Fourteenth Amendment:

       i. Congressional Districts 2, 3, and 7 – these districts individually and in

           combination are politically gerrymandered (See Attachment H);

       j. Congressional Districts 6 and 8 – individually and in combination politically

           gerrymander Frederick and Montgomery Counties (See Attachment I);

78. The state of Maryland’s Enacted Congressional District plans is the result of gross

   partisan gerrymanders, which violate the United States Constitution's Fourteenth

   Amendment equal protection guarantee by fragmenting cohesive communities of interest

   and political subdivisions between districts in support of no legitimate, consistently

   applied state policy.

79. No legitimate consistently applied state policy is supported or furthered by these plans'

   needless division of these communities.

80. This fragmentation of cultural, ethnic, geographic economic and political communities

   results in a dilution and debasement of Plaintiffs’ voting rights, political power and

   influence. See League of United Latin American Citizens v. Perry, 548 U.S. 399 (2006).

81. The Enacted Maryland Congressional Plan constitutes intentional discrimination against

   minority voters.

                                VII. ATTORNEYS’ FEES




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   82. In accordance with 42 U.S.C. Sections 1973-1(e) and 1988, Plaintiffs are entitled to

      recover reasonable attorneys’ fees, expenses and costs.

                                           VIII. PRAYER

WHEREFORE, Plaintiffs pray that this Court:

      (a)     assume jurisdiction of this action and request a three-judge panel pursuant to 28

              U.S.C. Section 2284;

      (b)     issue a declaratory judgment finding that the Enacted Maryland Congressional

              Plan illegally and unconstitutionally dilutes the voting strength of African

              American voters in Maryland and is unlawful, null and void;

      (c)     issue a declaratory judgment finding that the Enacted Maryland Congressional

              Plan illegally and unconstitutionally constitutes intentional discrimination and is

              unlawful, null and void;

      (d)     issue a declaratory judgment finding the Enacted Maryland Congressional Plan

              illegally and unconstitutionally violates Article 1, Section 2 of the U.S.

              Constitution for the purposes of drawing congressional districts resulting in

              malapportionment and violations of the United States Constitution ;

      (e)     permanently enjoin Defendants from calling, holding, supervising or certifying

              any elections under the Enacted Maryland Congressional Plan. Plaintiffs have no

              adequate remedy at law other than the judicial relief sought herein, and unless the

              Defendants are enjoined from using the Enacted Maryland Congressional Plan,

              plaintiffs will be irreparably harmed by the continued violation of their statutory

              and constitutional rights;




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(f)   set a reasonable deadline for state authorities to enact or adopt redistricting plans

      for congressional districts that do not dilute, cancel out or minimize the voting

      strength of African American voters;

(g)   if state authorities fail to enact or adopt valid redistricting plans by the Court’s

      deadline, order new redistricting plans for congressional districts that do not

      dilute, cancel out or minimize the voting strength of African American voters;

(h)   adjudge all costs against Defendants, including reasonable attorneys’ fees;

(i)   retain jurisdiction to render any and all further orders that this Court may grant

      any and all further relief to which Plaintiffs may show themselves to be entitled.




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